                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


UNITED STATES OF AMERICA               )
                                       )        NO . 3:2 5-c r -00115
                                       )
      v.                               )        MAGISTRATE JUDGE HOLMES
                                       )
                                       )
KILMAR ABREGO GARCIA                   )


           MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

      Through counsel, Kilmar Abrego Garcia moves this Honorable Court to allow

him to file a motion under seal.

      The “Administrative Practices and Procedures for Electronic Case Filing (ECF)”

requires parties to file a motion seeking leave of court prior to filing any documents

electronically under seal. In this case, the document contains confidential and

sensitive information, and defense counsel therefore requests that the document be

placed under seal.

                                       Respectfully submitted,

                                       s/ Will Allensworth
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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2025, I electronically filed the foregoing
Motion for Leave to File Document Under Seal with the U.S. District Court Clerk by
using the CM/ECF system, which will send a Notice of Electronic Filing to the
following: Robert E. McGuire, Assistant U.S. Attorney, 719 Church St., Suite 3300,
Nashville, TN, 37203.



                                      s/ Will Allensworth
                                      WILL ALLENSWORTH




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